            Case 4:14-cv-00165-REB Document 17 Filed 01/08/15 Page 1 of 1




                              UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


CLAY SCOTT BAKER, M.D.,

                Plaintiff,                            Case No. 4:14-cv-00165-REB

       v.                                             ORDER ADOPTING STIPULATION
                                                      FOR DISMISSAL WITH PREJUDICE
GUARDIAN LIFE INSURANCE COMPANY OF
AMERICA, a New York Corporation and
BERKSHIRE LIFE INSURANCE COMPANY OF
AMERICA, a Massachusetts Corporation,

                Defendants.


       Pursuant to the parties’ Stipulation for Dismissal with Prejudice (Docket No. 16), and the

Court being otherwise fully advised:

       IT IS HEREBY ORDERED that the Stipulation is approved and adopted, and that all

claims and actions set forth in this matter by Plaintiff are DISMISSED WITH PREJUDICE, each

party to bear their own costs and attorneys’ fees.

                                       DATED: January 8, 2015




                                       Honorable Ronald E. Bush
                                       U. S. Magistrate Judge




ORDER ADOPTING STIPULATION FOR DISMISSAL WITH PREJUDICE - 1
